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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE


United States of America

      v.                                        Case No. 09-cr-112-03-PB

Michael Roux, et al.


                                O R D E R


      Elvin Ealy has filed a motion to sever his trial from the

trial of his co-defendants.

      The sole charge against Ealy is distinct claim that can

easily be tried separately without undue burden.              Ealy is not

alleged to be a member of the conspiracy that will be the focus

of the trial of his co-defendants.          There is a real danger of

prejudicial spillover because the vast bulk of the evidence will

only be admissible against the co-defendants.

      The motion to sever (Doc. No. 59) is granted.

      SO ORDERED.


                                        /s/Paul Barbadoro
                                        Paul Barbadoro
                                        United States District Judge
November 30, 2009

cc:   Mark Howard, Esq.
      Theodore Lothstein, Esq.
      Stanley Norkunas, Esq.
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